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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

STEPHEN BUSHANSKY,

            Plaintiff,                            Case No. 20-10107

v.                                                Stephanie Dawkins Davis
                                                  United States District Judge

DIPLOMAT PHARMACY, INC., et al,

          Defendants.
__________________________________________________________________/

                         ORDER DISMISSING CASE

      Pursuant to the Notice of Voluntary Dismissal Without Prejudice by Plaintiff,

this case is DISMISSED without prejudice.

      IT IS SO ORDERED.

Date: April 20, 2020                  s/Stephanie Dawkins Davis
                                      Stephanie Dawkins Davis
                                      United States District Judge
